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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 2:18-cr-20413-TGB-EAS
                                                             Hon. Terrence G. Berg

MARTIN LEON,

               Defendant.
_______________________________________________________________________
STEVEN PHILIP CARES (P68503)              NEIL ROCKIND (P48618)
US Dept. of Justice                       Rockind Law
Assistant U.S. Attorney                   Attorney for Defendant
211 W Fort Street Ste 2001                36400 Woodward Ave., Ste 210
Detroit, MI 48226                         Bloomfield Hills, MI 48304
(313) 226-9139                            (248) 208-3800
____________________________________________________________________________/
 STIPULATION AND ORDER FOR ADDITIONAL TIME TO RAISE OBJECTIONS TO
                       PRESENTENCE INVESTIGATION REPORT

       IT IS HEREBY STIPULATED AND AGREED by and between the parties that

Defendant shall have an additional thirty (30) days to file objections to the Pre-Sentence

Investigation Report once it has been received by Rockind Law. Rockind Law will notify this

Honorable Court, and the United States Attorney’s Office promptly upon receipt of Defendant’s

Pre-Sentence Investigation Report.



/s/ Steven Cares w/consent                                   /s/ Neil Rockind (w/permission, bw)
STEVEN CARES (P68503)                                        NEIL ROCKIND (P48618)
Assistant U.S. Attorney                                      Attorney for Defendant


                              IT IS SO ORDERED.

                                      /s/Terrence G. Berg____________________
                                      HONORABLE TERRENCE G. BERG
                                      UNITED STATES DISTRICT JUDGE
Dated: May 8, 2020



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